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 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
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12      JAMES RUTHERFORD, an                  Case No.: ED CV 20-189-DMG (SPx)
13      individual,

14                                            ORDER RE DISMISSAL WITH
        Plaintiff,                            PREJUDICE [40]
15
        vs.
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17      HF Investments, LLC, et al.,
18      Defendants.
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     Case 5:20-cv-00189-DMG-SP Document 41 Filed 06/30/20 Page 2 of 2 Page ID #:145


 1          After consideration of the Joint Stipulation for Dismissal of the entire action

 2    with Prejudice filed by Plaintiff James Rutherford (“Plaintiff”) and Sierra Corwin,

 3    LLC (“Defendant”), the Court hereby enters a dismissal with prejudice of Plaintiff’s

 4    Complaint in the above-entitled action, in its entirety. Each party shall bear his or its

 5    own costs and attorneys’ fees.

 6          IT IS SO ORDERED.
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      DATED: June 30, 2020
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 9                                     DOLLY M. GEE
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                                       UNITED STATES DISTRICT JUDGE

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